Teed: Ce TR) Case 5:21-cv-05418-£d¥ Ib deQNeERRi SHIRET 2/11/21 Page 1 of 8

The JS 44 civil cover shect and the information contained hercin neither replace nor supplement the filing and service of pleadings or other papers-as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

1. (a) PLAINTIFFS DEFENDANTS
EDWARD J. McCLAIN, JR. WEATHER TRENDS INTERNATIONAL, INC.
(b) County of Residence of First Listed Plaintiff LEHIGH County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Marc E. Weinstein WEINSTEIN LAW FIRM, LLC 500
Office Ctr Dr., #400, Ft. Wash, PA 19034 267.513.1942

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
C 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Gavernment Not a Party) Citizen of This State (11 = [] 1 Incorporated or Principal Place [Ci4 (4
of Business In This State

C] 2 U.S. Government []4 Diversity Citizen of Another State CO 2 oO 2 Incorporated and Principal Place LC] 5 C] 5

Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a CL 3 O 3 Foreign Nation CO 6 CT 6

Foreign Country

 

 

IV. NATURE OF SUIT (Place an “X’” in One Bo.

 
  

x Only)

   
    

— Click here for: Natur
| FORFEITURE/PENALTY [BANKRUPTCY

 

     
 
    
   

   

 

  

  

     
 
    
  
      
   
 
     
     
     
 
 
 
    
  

110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability Y 1690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability O 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaccutical = 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers” Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability Oo 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CC 153 Recovery of Overpayment Liability PERSONAL PROPERTY [£ 880 Defend Trade Secrets wl 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits ~ 355 Motor Vehicle = 371 Truth in Lending Act |_] 485 Telephone Consumer
190 Other Contract Product Liability LJ 380 Other Personal | 720 Labor/Management Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury | 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
© [7] 362 Personal Injury - Product Liability 4" Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions

  
   

     

 
 
 
  
     
    

    

; eed Se E INS. |_| 790 Other Labor Litigation 891 Agricultural Acts

|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters

|_| 220 Foreclosure 441 Voting | | 463 Alien Detainee Income Security Act 895 Freedom of Information

| _|230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate Act

|_| 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration

|_| 245 Tort Product Liability q Accommodations |_| 530 General C] 871 IRS—Third Party H| 899 Administrative Procedure

[| 290 All Other Real Property Rf Amer. w/Disabilities -[/ ] 535 Death Penalty ATIO 26 USC 7609 Act/Review or Appeal of
« Employment Other: 462 Naturalization Application

Agency Decision

 

 

 

 

wl 446 Amer. w/Disabilities -[ | 540 Mandanws & Other 465 Other Immigration | 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
|] 448 Education |_| 555 Prison Condition
|_| 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
E] 1 Original Li Removed from 3. Remanded from oO 4 Reinstated or CO 5 Transferred from CO 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
29 USC sec. 701
Brief description of cause:
Disability discrimination in violation of the Rehabilitation Act of 1973

Vl. CAUSE OF ACTION

 

 

 

 

VII. REQUESTED IN L] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: []yes [No
VIII. RELATED CASE(S) —
IF ANY peeaaee — GE DOCKET NUMBER

 

 

 

 

DATE IGNATURE OF ATTORNEY OF RECORD
December 13, 2021 \ /
4

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
UNITED STATES ick oF

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DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 2061 Strathmore Drive Lower Macungie, PA 18062
Addvess of Detkadanr: 1 West Broad Street Suite #802 Bethlehem, PA 18018
Place of Accident, Incident or Transaction: Bethlehem, PA

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No] A
previously terminated action in this court?

 

 

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No| A
pending or within one year previously terminated action in this court?

 

 

 

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No
case filed by the same individual?

 

I certify that, to my knowledge, the within case [1 is / (J is not retsfed to any case now pending or within one year previously terminated action in
this court except as noted above.

 

 

 

 

vars, 12/11/2021
Attorney-at-Law / Pro laintiff Attorney 1D. # (if applicable)

 

 

CIVIL: (Place a V in one category only)

 

 

 

 

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
(1 1. Indemnity Contract, Marine Contract, and All Other Contracts C] 1. Insurance Contract and Other Contracts
[] 2. FELA LJ] 2. Airplane Personal Injury
C1 3. Jones Act-Personal Injury (1 3. Assault, Defamation
Cl 4. Antitrust [] 4. Marine Personal Injury

5. Patent [1 5. Motor Vehicle Personal Injury
~ 6. Labor-Management Relations CI 6. Other Personal Injury (Please specify):
7. Civil Rights C1 7. Products Liability
(1 ‘8. Habeas Corpus LC] 8. Products Liability— Asbestos

9. Securities Act(s) Cases [] 9. All other Diversity Cases
= 10, Social Security Review Cases (Please specify):
[J] 11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration)

I Marc E . Wei nstein , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought : 7
DATE: 12/1 1/2021 Mr A, gn if applicable 19474

vv ~“Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

EDWARD J. MCLAIN, JR.
CIVIL ACTION
Plaintiff,
NO.
V.
WEATHER TRENDS
INTERNATIONAL, INC.
JURY TRIAL DEMANDED
Defendant.
CIVIL ACTION COMPLAINT
I. Introduction
L, Plaintiff prosecutes this disability discrimination action against his former employer.

He alleges Defendant terminated his employment on account of his recent cancer diagnosis

and treatments, in violation of federal anti-discrimination law.

II. Parties

2. Plaintiff is a male citizen of the United States. At times relevant to this case he was
employed by Defendant in the Eastern District of Pennsylvania.

3. Defendant, Weather Trends International, Inc., is a Lehigh Valley-based company
that sells long-range weather forecasts to retailers and investors.

4. At all relevant times, Defendant has been a corporate entity organized under the laws

of the Commonwealth of Pennsylvania.
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5. At all relevant times, Defendant acted through its several agents, servants, and
employees (including, but not limited to, those named elsewhere in this Civil Action
Complaint), each of whom acted in the course and scope of their employment at all times
relevant herein. Defendant is therefore fully responsible for the illegal and discriminatory
acts and omissions of the aforesaid individuals pursuant to the principle of respondeat

superior.

Ill. Jurisdiction and Venue

6. Plaintiffs claims arise under the Rehabilitation Act of 1973, (29 U.S.C. § 701 et seq.)
(“Rehab Act”).

7. The United States District Court for the Eastern District of Pennsylvania has original
subject matter jurisdiction over the instant action pursuant to 28 U.S.C. § 1331 (federal
question).

8. This Court may properly maintain personal jurisdiction over Defendant because its
contacts with this state and this judicial district are sufficient for the exercise of jurisdiction
over Defendant to comply with traditional notions of fair play and substantial justice,
satisfying the standard set forth by the United States Supreme Court in Jnt’] Shoe Co. v.
Washington, 326 U.S. 310 (1945) and its progeny.

9. Venue is properly laid in the Eastern District of Pennsylvania pursuant to 28 U.S.C.
§§ 1391(b)(1) and (b)(2), because Defendant resides in and/or conducts business in this

judicial district and because a substantial part of the acts and/or omissions giving rise to the

2
Case 5:21-cv-05418-EGS Document1 Filed 12/11/21 Page 5of8

claims set forth herein occurred in this judicial district (Plaintiff was working in the Eastern

District of Pennsylvania at the time of the illegal actions set forth herein).

IV. Factual Background

10. Plaintiffwas hired by Defendant as Executive Vice President for Sales and Marketing
in or about May 2020.

11. Hereported to William Kirk, CEO and Billy Dunn, President.

12. _ Plaintiff's primary duties were to build a structure within the sales organization and
establish strategic partnerships.

13. In early 2021, Plaintiff was diagnosed with cancer and began a course of treatment
shortly thereafter.

14. Plaintiffhad several surgeries, and then underwent extensive radiation treatments and
speech therapy.

15. In or about August 2021, Plaintiff went out on Short Term Disability in order to
facilitate his recovery.

16. On Monday, September 13, 2021 Dunn told Plaintiff that Plaintiff was being
discharged.

17. | Dunn said finances were really bad. When Plaintiff reminded Dunn that he wasn’t

costing the company anything at the time since he was out on disability, he replied, “yeah,
but our premium will go up.”

18. Upon further inquiry, Defendant changed its explanation for Plaintiffs firing,
Case 5:21-cv-05418-EGS Document1 Filed 12/11/21 Page 6 of 8

asserting it was due to poor performance. Yet never once was Plaintiff counseled or
criticized for any performance deficiencies.

19. | Defendant’s explanations are inconsistent and pretextual. The real reason Plaintiff
was discharged is because Defendant considered him to be damaged goods after his cancer

diagnosis and treatments.

First Cause of Action - Violations of the Rehab Act
20. The foregoing paragraphs are incorporated in their entirety as if set forth in full.
21. Defendant has been the recipient of federal financial assistance and is therefore
subject to the provisions of the Rehab Act.
22. The Rehab Act prohibits discrimination “against a qualified individual with a
disability because of that disability.”
23. Plaintiff is a “qualified individual with a disability” because he has been diagnosed
with cancer, and has undergone surgeries and treatment for his cancer.
24. Moreover, in being diagnosed with cancer, and undergoing surgeries and treatment
for cancer, Plaintiff has (a) a physical or mental impairment that substantially limits one or
more of his major life activities; or (b) a record of such an impairment; or (c) was regarded
as having such an impairment.

25. Cancer has substantially limited Plaintiff's major life activity of normal cell growth.
26. Cancer has also substantially limited Plaintiff's major life activities of speaking,

swallowing and eating.
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27. By deliberately and purposefully firing Plaintiff due to his cancer diagnosis and
treatments, Defendant has engaged in numerous, ongoing, repeated, and intentional
violations of the Rehab Act.

28. Asaresult of Defendant’s unlawful conduct, Plaintiff has suffered pecuniary losses,

substantial emotional distress, humiliation, inconvenience and other non-pecuniary losses.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to be permanently enjoined from discriminating against Plaintiff on any
basis forbidden by the Rehab Act;

B. Defendant is to promulgate and adhere to a policy prohibiting disability
discrimination;

C. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole
for any and all pay and benefits he would have received had it not been for the illegal actions
including but not limited to back pay, front pay, salary, pay increases, bonus, insurance,
benefits, training, promotions, and seniority;

D. Plaintiff is to be awarded compensatory damages for the pain, suffering, emotional
distress, anguish and financial strain caused him by Defendant’s actions and omissions;
E. Plaintiff is to be accorded other equitable and legal relief as the court deems just,
proper and appropriate;

F. Plaintiff is to be awarded the costs and expenses of this action and a reasonable

attorney’s fee as provided by applicable federal law;

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G.

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Plaintiff's claims are to receive a trial by jury to the extent allowed by applicable law.

Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).

Dated:

Respectfully submitted,

 

WEIN LAW FIRM, LLC

December 13, 2021

 

 

i
Marc E. Weinstein, Esq.
500 Office Center Drive
Suite 400
Fort Washington, PA 19034
267.513.1942
marc@meweinsteinlaw.com
Counsel to Plaintiff
